                                                        CLERKS OFFICE U.S. DIST. COURT
                                                           AT CHARLOTTESVILLE, VA
                                                                 FILED
                                                             07/17/2019
                                                           JULIA C. DUDLEY, CLERK
                                                           BY: /s/ J. JONES
                                                              DEPUTY CLERK



                                                  3:19-cv-00041




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